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UNITED STATES DISTRICT COUR oo
| DISTRICT OF NEVADA) ogi eh
* a v
)
SVI INC, )
) 2:07-cv-1447 LDG
)
Plaintiff(s), )
)
VS. )
BUS SERVICES CORP et al, )
| 2
Defendant(s). )

ORDER FOR DESTRUCTION OF EXHIBITS
As prescribed by LR 79-1 and LCR 55-1 of the Local Rules of Practice of this Court, counsel
was notified via Minute Order on JULY 8, 2013 that they could retrieve the exhibits previously
received into evidence that are in the custody of the Clerk’s Office. IT IS HEREBY ORDERED
| that if exhibits are not retrieved by counsel prior to AUGUST 12, 2013, the Clerk is authorized to

destroy said exhibits.

Uy

US-DISTRICT JUDGE 7

Dated: Xi) fs 3
J /

